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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


ARCHER AND WHITE SALES, INC.

               Plaintiff,                                   Civil Action No. 2:12-CV-00572-
                                                            JRG
       v.

HENRY SCHEIN, INC., DANAHER
CORPORATION, INSTRUMENTARIUM
DENTAL, INC., DENTAL EQUIPMENT,
LLC, KAVO DENTAL TECHNOLOGIES,
LLC, DENTAL IMAGING
TECHNOLOGIES CORPORATION,
PATTERSON COMPANIES, INC., AND
BENCO DENTAL SUPPLY CO.,

               Defendants.


                                             ORDER


       The Court, having considered Plaintiff’s Emergency Motion for Leave to Exceed

Page Limits for Response to Motions for Summary Judgment (Dkt. No. 342), finds that the

Motion should be and is hereby GRANTED-AS-MODIFIED.


       It is therefore ORDERED that Archer is permitted to file a single, combined response

to the Defendants’ motions for summary judgment no longer than 70 pages in length, exclusive

of tables of contents and authorities and signature and certificate of service pages.

       Accordingly, the Motion to Expeditie Briefing on this issue (Dkt. No. 343) is hereby

DENIED.
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        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 19th day of January, 2018.




                                                ____________________________________
                                                RODNEY GILSTRAP
                                                UNITED STATES DISTRICT JUDGE
